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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA
            __________________________________________
                                                       )
            UNITED STATES OF AMERICA                   )
                                                       )
                 V.                                    ) CASE NO: 1:21-CR-496
                                                       )
            MARK S. IBRAHIM,                           ) TRIAL: JANUARY 23, 2025
                                                       )
                     DEFENDANT.                        )
            __________________________________________)

                        DEFENDANT’S MOTION TO CONTINUE
            ———————————————————————————————————————


                    Defendant hereby moves to continue the Stipulated Trial currently scheduled for January

            23, 2025 to February 28, 2025, and in support thereof states as follows:

                A. This case is currently scheduled for a Stipulated Trial on January 23, 2025 with materials

                     due on January 9, 2025.

                B. Based on recent developments, Mr. Ibrahim is seeking to briefly continue the Stipulated

                     Trial and the materials due-date to sometime in February of 2025, suggesting the date of

                     February 28, 2025.

                C. “I’m going to be acting very quickly. First day,” President-elect Trump stated of his

                     intention to issue pardons to January 6 defendants in an interview with NBC News on

                     December 8, 2024.1 Prior to this interview, President-elect Trump made a plethora of pre-

                     election statements in support of pardons for January 6 defendants.




            1 Ryan J. Reilly, Trump will 'most likely' pardon Capitol rioters on Day 1 and says Jan. 6 committee members should
            be jailed, NBC NEWS (Dec. 8, 2024), https://www.nbcnews.com/politics/donald-trump/trump-will-likely-pardon-
            capitol-rioters-day-1-says-jan-6-committee-me-rcna183275.

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            D. Mr. Ibrahim, who never entered the Capitol Building, and who is charged for being

                nonviolently present on the outdoor Grounds around the Capitol Building, is expecting to

                be relieved of the criminal prosecution that he is currently facing as soon as the new

                administration takes office on January 20, 2025 — just four days before his scheduled

                Stipulated Trial, but after the trial materials are due for submission.

            E. As a summary of why the defense believes that Mr. Ibrahim’s case will receive clemency

                action, the Defense submits as follows: the Defense has previously revealed to the Court

                that Mr. Ibrahim, who was employed as a federal law enforcement officer on January 6,

                2021, was selected for prosecution based on his off-duty political beliefs. See ECF No.

                44, 45, and 41. Mr. Ibrahim possessed a firearm on his person on January 6 because Mr.

                Ibrahim was acting in compliance with the DEA Agent’s Manual, and per his training.

                See ECF No. 61. The DEA Agents Manual, § 6122.11(B), requires agents to maintain

                access to firearms while off duty, stating that DEA agents are “required to be available

                for duty with little or no advance notice” and “must have ready access to their firearm in

                the event that they are recalled to duty.” Mr. Ibrahim was prosecuted for possession of his

                firearm on the outdoor Grounds around the Capitol while other off-duty federal law

                enforcement officers who also admitted to being similarly armed, were not prosecuted.

                See ECF No. 44.

            F. The current schedule for the Ibrahim case is an uneconomic use of the parties’ and the

                Court’s time, considering the statements made regarding pardons and clemency by the

                President-elect.




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                G. On November 14, 2024, in United States v. Hunt, at. al., 1:24-cr-00154-CJN, Judge

                       Nichols considered the issue of scheduling a trial under the circumstances of a potential

                       pardon, before President-elect Trump made post-election statements reaffirming his

                       commitment to pardoning January 6 defendants. “Can the government guarantee if I set

                       this case for trial after January 20th that we will be trying a case,” Judge Nichols asked

                       the Government. The Government responded that there is “uncertainty” as to the

                       situation and it could give no such guarantee. Judge Nichols scheduled a Spring trial date

                       based on his calendar and also in consideration of the potential intervention from the new

                       administration, “to obviate the need for potentially wasteful motions.” Accordingly,

                       Judge Nichols made pretrial motions due, “almost four weeks after the inauguration,” to

                       provide “some buffer between [the motions due dates] and the inauguration.”2

                H. Based on the reasoning provided herein, Mr. Ibrahim believes that a continuance to a

                       date after the new administration takes office, with time to considers pardons and

                       clemency for January 6 cases, serves at the ends of justice and the interests of all parties.

                I.     Mr. Ibrahim fully understands his Speedy Trial Act rights and knowingly and voluntarily

                       agrees to toll the speedy trial clock during the period of the continuance, through

                       February 28, 2025. The tolling is in the interest of justice, the defendant, and the public.



            WHEREFORE, the defendant asks this Court to continue the Stipulated Trial to February 28,

            2025.




            2 Undersigned counsel can submit a transcript of the proceedings in United States v. Hunt, et. al. to chambers upon
            request.

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                                                          Respectfully submitted,

                                                          By Counsel:

                                                                 /s/
                                                          Marina Medvin, Esq.
                                                          Counsel for Defendant
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                                    CERTIFICATE OF SERVICE FOR CM/ECF

                    I hereby certify that on December 8, 2024, I will electronically file the foregoing with the
            Clerk of the Court for the United States District Court for the District of Columbia by using the
            CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
            service will be accomplished by the CM/ECF system.

                                                                /s/
                                                          Marina Medvin, Esq.




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